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FOR THE NORTHERN DISTRICT OF TEXAQSER;§ g§?§g

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Plaintiff \)
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Case Number

 

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Defendant

 

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* Attach additional pages as needed

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